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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                             )
                                                     )     No. 1:18-cr-172-01-SM
               v.                                    )
                                                     )     Securities Fraud
JESSICA M. TEIXEIRA,                                 )                 (15 U.S.C. §§ 78j(b) & 78ff
                                                     )      17 C.F.R. § 240.10b-5)      ;
                     Defendant                       )     (Count 1)
                                                     )
                                                     )     Money Laundering
                                                     )      (18 U.S.C. § 1957)
                                                     )     (Count 2)


                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                            COUNT 1

            [15 U.S.C. §§ 78j(b) & 78ff and 17 C.F.R. § 240.10b-5 – Securities Fraud]

                                      Introduction

       At all times relevant to this Indictment:

       1.      The defendant, JESSICA M. TEIXEIRA, resided in Shrewsbury, Massachusetts.

The defendant claimed to own and operate a business known as Ms. Goldilox, at

www.msgoldilox.com, which offered concierge services to families.

       2.      Investor 1 resided in Merrimack, New Hampshire, and owned and operated youth

sports businesses based in New Hampshire.

       3.      Investor 2 resided in New Boston, New Hampshire, and held a wide range of

business and investment interests.
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       4.      Between approximately December 2015 and November 2017, the defendant

willfully executed a scheme to defraud Investor 1 and Investor 2 by selling them a series of

securities, including investment contracts and notes, which were supposedly guaranteed and

would generate high rates of return. In connection with the sales of securities, the defendant

represented herself as a solicitor of high-yield investment funds with connections to investment

groups raising funds associated with domestic and foreign real estate developments, who

solicited financing through private investors, rather than financial institutions. In truth and in

fact, as the defendant well knew, the defendant’s claims to be connected to high-level investment

groups were false, the investment contracts and notes she sold were worthless and would and did

generate no returns, and the defendant would and did simply convert the invested funds to her

own personal use and benefit, without returning any of the invested funds.

       5.      In addition, as some of the investments by Investor 1 matured, the defendant

fraudulently convinced Investor 1 to forego repayment and “re-invest” in supposed new, better

investments promising a massive rate of return. In truth and in fact, as the defendant well knew,

the “re-investment” opportunities she sold were worthless and would and did generate no returns,

and the defendant would and did simply convert the invested funds to her own personal use and

benefit, without returning any funds.

       6.      During the course of the scheme, the total amount that the defendant fraudulently

obtained from Investor 1 and Investor 2 was about $296,250.




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                                           The Offense

       7.      In and around February 2016, in the District of New Hampshire and elsewhere,

the defendant, JESSICA M. TEIXEIRA, by use of means and instrumentalities of interstate

commerce, including interstate text messages and interstate highways, did willfully and with

intent to defraud, in connection with the purchase and sale of a security, in contravention of Rule

10b-5 (17 C.F.R. § 240.10b-5) of the Rules and Regulations promulgated by the United States

Securities and Exchange Commission, omit to state material facts which rendered her statements

about the security misleading. In particular, the defendant induced Investor 1 to invest $40,000,

via a personal check dated February 20, 2016, with the promise of a single repayment of

principal plus 10% interest by June 27, 2017. The defendant did not disclose that she would not

and did not invest Investor 1’s funds as indicated, and that instead she would and did convert and

use his money for her personal benefit.

(All in violation of Title 15 U.S.C. §§ 78j(b) & 78ff and 17 C.F.R. § 240.10b-5.)

                                            COUNT 2

                            [18 U.S.C. § 1957 – Money Laundering]

       8.      On or about February 25, 2016, in the Districts of New Hampshire and

Massachusetts, the defendant, JESSICA M. TEIXEIRA, having participated in the transfer of the

proceeds of specified unlawful activity from the District of New Hampshire to the District of

Massachusetts, did knowingly engage in a monetary transaction in criminally derived property of

a value greater than $10,000 that was derived from specified unlawful activity, namely,

Securities Fraud as alleged in Count 1 of this Indictment (which is incorporated here by

reference), in that, at Citizen’s Bank in Shrewsbury, Massachusetts, the defendant used a portion



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of Investor 1’s funds to purchase a bank check payable to the defendant in the amount of

$20,000.

(All in violation of Title 18, United States Code, Section 1957.)

                                                     A TRUE BILL


                                                     /s/ Grand Jury Foreperson
                                                     Grand Jury Foreperson



SCOTT W. MURRAY
United States Attorney


/s/ John S. Davis
John S. Davis
Assistant United States Attorney


/s/ Anna Dronzek
Anna Dronzek
Assistant United States Attorney


Date: October 31, 2018




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